      Case 2:07-cv-02513-GMS Document 2782 Filed 06/17/22 Page 1 of 2



1    RACHEL H. MITCHELL
     MARICOPA COUNTY ATTORNEY
2
     By:    JOSEPH I. VIGIL (018677)
3           JOSEPH J. BRANCO (031474)
            Deputy County Attorneys
4           vigilj@mcao.maricopa.gov
            brancoj@mcao.maricopa.gov
5
     CIVIL SERVICES DIVISION
6    225 West Madison Street
     Phoenix, Arizona 85003
7    Telephone (602) 506-8541
     ca-civilmailbox@mcao.maricopa.gov
8    MCAO Firm No. 00032000

9    Attorneys for Defendants Paul Penzone
      and Maricopa County
10
                              UNITED STATES DISTRICT COURT
11                                DISTRICT OF ARIZONA
12    Manuel De Jesus Ortega Melendres,         No. CV-07-2513-PHX-GMS
      on behalf of himself and all others
13    similarly situated; et. al,
                                               DEFENDANT PAUL PENZONE’S
14                     Plaintiffs,             NOTICE OF FILING THIRTY-SECOND
                                               QUARTERLY COMPLIANCE REPORT
15    and
16    United States of America,
17                     Plaintiff-Intervenor,
      v.
18
      Paul Penzone, in his official capacity
19    as Sheriff of Maricopa County,
      Arizona, et. al.,
20
                       Defendants.
21

22

23          Pursuant to the Court’s October 2, 2013, Order (Doc. 606), Defendant Paul Penzone
24
     files with the Court Defendant’s Thirty-Second Quarterly Compliance Report, which covers
25

26
     the First Quarter of 2022, January 1, 2022 through March 31, 2022. (Attached as Exhibit

27   1.)
28


                                                1
      Case 2:07-cv-02513-GMS Document 2782 Filed 06/17/22 Page 2 of 2



1           RESPECTFULLY SUBMITTED this 17th day of June, 2022.
2
                                            RACHEL H. MITCHELL
3                                           MARICOPA COUNTY ATTORNEY
4
                                            BY: /s/ Joseph I. Vigil
5                                               JOSEPH I. VIGIL, ESQ.
                                                JOSEPH J. BRANCO, ESQ.
6                                               Attorneys for Defendants Paul Penzone
                                                 and Maricopa County
7

8

9

10

11

12                              CERTIFICATE OF SERVICE
13          I hereby certify that on June 17, 2022, I caused the foregoing document to be
     electronically transmitted to the Clerk’s Office using the CM/ECF System for filing and
14   served on counsel of record via the Court’s CM/ECF system.
15
     /s/J. Barksdale
16

17

18

19

20
21

22

23

24

25

26
27

28


                                               2
